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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                                           Case No. 3:05cr87/RV

RODRIGO ULLOA MARTINEZ
     a/k/a “Chino,”
and
JUAN NIEVES-VILLAREAL
                                          /

           FINAL ORDER OF FORFEITURE AS TO DEFENDANTS
        RODRIGO ULLOA MARTINEZ AND JUAN NIEVES-VILLAREAL

        WHEREAS, on November 14, 2005, the Court entered a Preliminary Order of

Forfeiture, pursuant to the provisions of Title 21, United States Code, Section 853(a)(1) and

(2), based upon the defendants’ guilty verdict on the indictment in this action, and their

consent to the forfeiture of $100,000.00 as assets used or derived from said conduct;

        AND WHEREAS, pursuant to Rule 32(b)(2) and 32.2 (b)(2) of the Federal Rules of

Criminal Procedure said Preliminary Order of Forfeiture shall be made final as to defendants

Rodrigo Ulloa Martinez and Juan Nieves-Villareal at the time of sentencing and shall be

made part of the sentence and included in the judgment, now wherefore,

        IT IS HEREBY ORDERED:

        That all of defendants Rodrigo Ulloa Martinez’s and Juan Nieves-Villareal’s right,

title and interest in the property described above is hereby forfeited to and vested in the
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United States of America and that said forfeiture is now final as to defendants Rodrigo

Ulloa Martinez and Juan Nieves-Villareal for all purposes.

       IT IS SO ORDERED this 25th day of January 2006.


                                    /s/ Roger Vinson
                                    ROGER VINSON
                                    SENIOR UNITED STATES DISTRICT JUDGE
